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UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK
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                                   Plaintiff,
                 -against-                                                                   20   CIVIL 6265 (JPC)

                                                                                              JUDGMENT
HON. ESTER HAYUT et al.,

                                   Defendants.
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        It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated August 3, 2021, and the Court's Opinion and

Order dated January 25, 2022, Plaintiffs motion for recusal is denied and her Complaint is

dismissed with prejudice as to Meir Amir Cohen, the last remaining Defendant in this case.

Kazhdan's motion for sanctions is denied; accordingly, the case is closed.

Dated: New York, New York

          January 26, 2022


                                                                                RUBY J. KRAJICK

                                                                                        Clerk of Court
                                                               BY:
